                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              CENTRAL DIVISION

 UNITED STATES OF AMERICA,                       No. 19-04018-01-CR-C-BCW

                              Plaintiff,         COUNTS 1 and 2
                                                 21 U.S.C. § 841(a)(1)
        v.                                       NLT 10 Years and NMT Life Imprisonment
                                                 NMT $10,000,000 Fine
 ROBERT LUCIOUS TONEY,                           NLT 5 Years Supervised Release
 [DOB: 06/04/1952]                               Class A Felony

                              Defendant.         COUNT 3
                                                 18 U.S.C. § 1952(a)(3)
                                                 NMT 5 Years Imprisonment
                                                 NMT $ 250,000 Fine
                                                 NMT 3 Years Supervised Release
                                                 Class D Felony

                                                 $100 Special Assessment for each count

                                     INDICTMENT

THE GRAND JURY CHARGES THAT:

                                           COUNT 1
                              (Distribution of Methamphetamine)
                              21 U.S.C. § 841(a)(1) and (b)(1)(A)

       On or about December 14, 2018, within Boone County, in the Western District of Missouri,

the defendant, ROBERT LUCIOUS TONEY, knowingly and intentionally distributed 50 grams

or more of methamphetamine, a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(1) and (b)(1)(A).

                                           COUNT 2
                    (Possession with Intent to Distribute Methamphetamine)
                              21 U.S.C. § 841(a)(1) and (b)(1)(A)

       On or about January 18, 2019, within Callaway County, in the Western District of

Missouri, the defendant, ROBERT LUCIOUS TONEY, knowingly and intentionally possessed




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with the intent to distribute 50 grams or more of methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(A).

                                             COUNT 3
                       (Interstate travel in Aid of Racketeering Enterprise)
                                       18 U.S.C. § 1952(a)(3)

       On or about December 14, 2018, in the Western District of Missouri and elsewhere, the

defendant, ROBERT LUCIOUS TONEY, traveled in interstate commerce from the State of

Kansas to the State of Missouri, with the intent to promote, manage, establish, carry on and

facilitate the promotion, management, establishment and carrying on of an unlawful activity, that

is, a business enterprise involving narcotics and controlled substances in violation of 21 U.S.C. §

841(a)(1), and thereafter performed and attempted to perform an act to promote, manage, establish

and carry on, and to facilitate the promotion, management, establishment and carrying on of such

unlawful activity.

                                             A TRUE BILL.


                                             /S/ Samie Hill
                                             FOREPERSON OF THE GRAND JURY

/S/ Aaron M. Jolly
Aaron M. Jolly
Special Assistant United States Attorney
Missouri Bar No. 70155

Dated: 02/13/2019




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